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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT

HALLORAN, et al.                           :      DOCKET NO. 3:16-cv-00133-VAB

                             Plaintiffs    :
v.
                                           :
HARLEYSVILLE PREFERRED
INSURANCE CO., et al.,                     :

                             Defendants. :        MARACH 25, 2016

     Plaintiffs’ Motion for Rule 16 Pretrial Conference and
                      Motion to Stay Filings

I.     INTRODUCTION.

       Pursuant to Rule 16 of the Federal Rules of Civil Procedure, the Plaintiffs move

for an initial case management pretrial conference. Additionally, Plaintiffs move for a

Stay of all Filings and Deadlines until such time that a Rule 16 Scheduling Conference

has occurred.


II.    REQUEST FOR RULE 16 SCHEDULING CONFERENCE.

                Plaintiffs respectfully request the issuance of an Order which promptly

       schedules a Rule 16 conference.

                The Plaintiffs propose at said conference the following topics be discussed;

                      (A) Identifying and narrowing issues of fact and law;
                      (B) Determining what and if any threshold dispositive motions
                          exist; establishing deadlines and limits on joinder of parties and
                          amended or additional pleadings;
                      (C) Coordinating with related litigation in federal and state courts,
                          including later filings, removals, or transfers;
                      (D)Effecting early resolution of jurisdictional issues;
                      (E) Referring, if possible, some matters to magistrate judges, special
                          masters, or other judges;
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          (F) Appointing liaison, lead, and trial counsel and special
              committees, and maintaining time and expense records by
              counsel;
          (G)Determining whether to appoint interim class counsel during
              the period before class certification is decided;
          (H) Determining whether any jurisdictional discovery is needed
              or if any discovery is needed to decide whether to certify the
              proposed class;
          (I) Reducing filing and service requirements through master file
              and orders under Federal Rule of Civil Procedure 5;
          (J) Exempting parties from or modifying local rules or standing
              orders;
          (K) Planning for prompt determination of class action questions,
              including a schedule for discovery and briefing on class issues;
          (L) Managing disclosure and discovery, including establishing
                      - A process for preserving evidence;
                      - Document depositories and computerized storage;
                      - A uniform numbering system for documents;
                      - Procedures for the exchange of documents,
                          photographs, videos, and other materials in digital
                          format;
                      - Procedures for the exchange of digit-format materials,
                          such as databases, fax server files, PDA (personal
                          digital assistant) files, E-mail, digital voicemail;
                      - Informal discovery and other cost-reduction
                          measures;
                      - Procedures for resolving discovery disputes;
                      - Protective orders and procedures for handling claims
                          of confidentiality and privilege;
                      - Sequencing and limitations, including specific
                          scheduling and deadlines;
          (M) Planning for the presentation of electronic or computer-
              based evidence at trial, including the use of any audiovisual or
              digital technology in the courtroom;
          (N) Setting guidelines and schedules for the disclosure and
              exchange of digital evidentiary exhibits and illustrative aids;
          (O)Establishing procedures for managing expert testimony;
          (P) Creating schedules and deadlines for various pretrial phases of
              the case and setting a tentative or firm trial date; discussing any
              unresolved issues of recusal or disqualification;
          (Q)Evaluating prospects for settlement or possible referral to
              mediation or other procedures; and
          (R) Instituting other special procedures to facilitate management of
              the litigation.




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       1. In order to meet the March 18, 2016 deadline for a 26(f) conference

pursuant to the Court’s Pretrial Deadlines, or file a Joint Motion to Extend the

deadline for such a conference, Plaintiffs’ Counsel and Attorney Richard Fenton

(representing several of the defendants) had several telephone conferences to

coordinate scheduling in this matter. Plaintiffs’ counsel have high regard for

Attorney Fenton, who has been professional, courteous and done everything he

can to coordinate scheduling in this matter. Despite our best efforts to reach an

agreement whereby we would move the court to modify certain deadlines, we are

unable to file such a joint motion.

       Given the Plaintiffs’ desire to reduce the burden on the Court, the size and

complexity of this matter, the number of defendants in this matter, and the

number of defendants who do not recognize Attorney Fenton as a mouthpiece for

them at this time, Plaintiffs’ counsel believe that it is critical to schedule a Rule 16

conference.

       2. Some background is appropriate to put this Motion into context.

Plaintiffs filed a First Amended Complaint on Thursday, March 17, 2016. FRCP

15(a)(1) permits such an amendment as of right. The First Amended Complaint

adds fourteen (14) defendants to the case. These new defendants are in the

process of being served.

       3. Over the course of the past two (2) weeks, Plaintiffs’ counsel and

Attorney Fenton have discussed a number of scheduling issues regarding the

instant case. Attorney Fenton has represented that, for the purposes of

coordinating some scheduling issues at the outset of this litigation, he is speaking

on behalf of somewhere between 50% and 75% of the defendants in this matter.

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His discussions with me have been for the very limited purpose of scheduling

issues and issues relating to the 26(f) conference and 26(f) report. Plaintiffs

counsel and Attorney Fenton have enjoyed an exceedingly professional and

productive relationship through the date of this filing. Plaintiffs’ counsel submits

to this court that Attorney Fenton has conducted himself courteously, in

attempting to coordinate with Plaintiffs’ counsel a modification to certain

deadlines in this case.

       4. Despite Attorney Fenton’s good faith efforts and diligence regarding

striving to reach an agreement on a modification of certain deadlines, there are

other parties who have indicated to Plaintiffs’ counsel that they are not following

the advice of Attorney Fenton to work diligently with Plaintiff’s counsel to

effectively and efficiently begin the process of case management in this rather

complex case.

       5. Plaintiffs’ counsel has received written and oral communications from

various defense counsel who either are not aware that Attorney Fenton is

coordinating this scheduling effort for the time being or are aware of this and

have told Plaintiffs’ counsel that they will not comply with Attorney Fenton’s

attempts at recommending a proper course of scheduling. For example, one

such attorney is Jon Whitcomb, who represents PURE. After Plaintiffs’ counsel

had a productive telephone conference with Attorney Fenton and Attorney Jack

Papa of the law firm of Howard, Kohn, Sprague & Fitzgerald, for whom Plaintiffs’

counsel has deep regard, Attorney Whitcomb immediately called Plaintiffs’

counsel. Attorney Whitcomb said that Atty. Fenton and Atty. Papa do not speak

for him or his client and that he would be filing at least one motion if his client

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was not removed from the case. Plaintiffs’ counsel has agreed to work with

Attorney Papa and a group of defense counsel whose clients believe they should

be removed from this case for the same reasons as PURE. Plaintiff’s counsel has

asked Attorney Papa to obtain certain information from his client to better enable

Plaintiffs’ counsel to determine whether these defendants should be removed

from the case. Plaintiffs’ counsel is looking forward to working with Attorney

Papa and attorneys with similar issues, in an effort to reach a swift resolution of

their issues where possible.

       6. On March 17, 2016, Plaintiffs’ counsel received an email from Attorney

Whitcomb indicating that he will be suing Plaintiffs’ law firm for suing his client.

This comes on the heels of a letter last week from his colleague, Attorney Wagner,

that he would be filing a Motion for Sanctions in this matter if his client was not

removed by 5pm on March 16, 2016.

       7. On March 22, 2016, Plaintiffs’ counsel was emailed a copy of a Motion

for Sanctions that Attorney Whitcomb will be filing with this Court after a date

certain if Plaintiffs’ counsel does not voluntarily withdraw PURE with prejudice.

       8. Given the early stage of this case, and the attempts by a group of

competent and highly courteous and professional defense counsel attempting to

work with Plaintiffs’ counsel to put together the beginnings of a case

management plan, these efforts are seriously undercut by the actions of Attorney

Whitcomb. Also undermining the good faith efforts by the lawyers noted above

are written and oral communications from other Defendant’s attorneys in this

case who have either: (1) written to Plaintiffs’ Counsel requesting a dismissal by a

date certain but not acknowledging a reply sent within minutes kindly asking for

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       minimal information about the defendant; (2) indicated that they would be

       proceeding in a different fashion than that which has been proposed by Attorney

       Fenton; or (3) saying that they are not aware that Attorney Fenton is involved in

       the case.

               9. It is apparent that, despite the tremendous strides that Attorney

       Frenton has taken to work out dates that are acceptable among a large number of

       defendants, there is a need for a Rule 16 Pretrial Conference to take place as soon

       as possible.

               10. Here, a Rule 16 Conference would allow the parties and the Court the

       opportunity to discuss the most efficient way to proceed with this litigation so

       that the Court is not burdened with duplicative motions and duplicative

       discovery. Plaintiffs believe that, due to the size and complexity of this case,

       special procedures for coordination of counsel, coordination of motion filings and

       managing discovery, among other things, should be developed and implemented

       in a case management plan that is tailored to the particular circumstances of this

       case.



III.   THE ORDERLY ADMINISTRATION OF JUSTICE REQUIRES A STAY
       IN THIS ACTION.

               Plaintiffs request that any and all adversarial proceedings, including the

       filing of any pleadings and or motions and their respective deadlines be stayed

       until a Rule 16 Conference occurs. The Court has inherent authority to enter a

       stay. “[T]he power to stay proceedings is incidental to the power inherent in

       every court to control disposition of the cases on its docket with economy of time


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and effort for itself, for counsel, and for litigation. Landis v. North American Co.,

299 U.S. 248, 254 (1936). Efficiency and economy weigh heavily in favor of a stay

until a Rule 16 conference takes place in this case. There are over 100

defendants. If a stay is not granted until a conference is held, the Court may be

met with an avalanche of motions by the various defendants. It is necessary for

the Court to address the issues raised in Section II, ¶¶ (A)-(R) of this Motion in

order to be out in front of the case management issues that are inevitable if no

such conference is held. It would be efficient, economic and fair, for instance, to

establish a case management order limiting the number of Motions to Dismiss to

be filed. The administration of justice will benefit from such an order that seeks

to head off a tremendous waste of judicial resources. The orderly administration

of justice would also benefit from the appointment of a defense counsel liaison(s)

and a pre-certification Plaintiff’s class counsel through which the parties may

communicate on the various legal issues that are identified by defense counsel.

Defendants will not suffer any prejudice by the Court scheduling a Rule 16

conference and staying proceedings until such conference has occurred.

Accordingly, Plaintiffs’ counsel respectfully requests this Court to issue a stay

until there has been a Rule 16 Scheduling Conference.



       IV. CONCLUSION

       For all of the foregoing reasons, Plaintiffs respectfully request that this

action be stayed pending the occurrence of a Rule 16 Scheduling Conference.

Plaintiffs’ counsel will submit a proposed case management plan prior to the date

of the pretrial conference. In the meantime, Plaintiffs’ counsel is willing to

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       continue to work with Attorney Fenton to reach consensus on as many issues that

       will help this Court establish an initial case management order to permit the

       orderly and efficient development of this case.



                                          Plaintiffs Michael and Joyce Halloran,
                                          Kenneth and Victoria Masciovecchio,
                                          Steven and Patricia Brozek, and Michael
                                          Dyer, individually and on behalf of those
                                          similarly situated,

                                          BY    /s/           _______________
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                                           THEIR ATTORNEYS




                               Certificate of Service

       I hereby certify that on March 25, 2016, a copy of the foregoing was filed

electronically with the Court. Notice of this filing will be sent by e-mail to all parties by

operation of the Court’s electronic filing system. Parties may access this filing through

the Court’s CM/ECF system.




                                                  /s/          __________________
                                                  Ryan P. Barry
                                                  Anthony Spinella, Jr.

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